        Case 9:14-cr-00010-DLC Document 36 Filed 04/14/14 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 14–10–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 ALISA CHERYL BAILEY, aka Alisha
 Cheryl Bailey, aka Janet Davis,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on March 26, 2014. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Alisa Cheryl Bailey’s guilty

                                           1
        Case 9:14-cr-00010-DLC Document 36 Filed 04/14/14 Page 2 of 2



plea after Bailey appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered her plea of guilty to one count of uttering counterfeit

obligations or securities of the United States in violation of 18 U.S.C. § 472

(Count II) as set forth in the Indictment. Defendant further agrees to the forfeiture

allegation. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts I, III, IV, and V of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

33), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Alisa Cheryl Bailey’s motion to change

plea (Doc. 25) is GRANTED.

      DATED this 14th day of April, 2014.




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